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       Exhibit L
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I Found a Great Place to Hide Seed Words, How About You? — Coin Ninja Blog




                                                   YOUR HOME FOR ALL THINGS BITCOIN


                                                                             MAR
                                                                              22




                        I Found a Great Place to Hide Seed
                             Words, How About You?
                                                           BITCOIN HUMOR, BITCOIN BASICS




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               So I was cleaning up and changing some components on my 2001 Made in Mexico Fender
               Fat Strat and noticed these 3 strange holes left in the body, with seemingly no purpose. I
               found out later that these holes do serve a purpose, as was provided by Fender Staff on a
               forum:




               However I digress, my first thought when seeing these holes was, "Well what the hell can I
               hide in there?" My brain initially soared back to my high school days thinking, that sure
               would be a great place to hide a little weed, but now in my 30's I needed to come up with a
               better, more necessary idea: a perfect place to hide my seed/recovery words for my cold-
               storage wallet, eureka!




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               So I printed my recovery words using a label-maker, rolled it up, and am now storing this
               extremely sensitive data in a very inconspicuous place, that only I will know, and of course
               now all of you fine folks. This is my brilliant idea for hiding my recovery words, inside
               something of value that I will always own, especially since I banned Pete Townshend from
               my parties years ago. So I'm asking the crypto-community, please share with us your most
               brilliant hiding places for your recovery words. I also have a Cryptosteel, as my guitar won't
               be able to hide from fire, but I'm at a loss for a good place to keep it inside the home. So
               please, enlighten the community with your ingenious cryptic crypto camouflage.




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